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                       EXfflBIT A
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       BARNES&THORNBURGllp                                                                                          One North Wacker Drive, Suite 4400
                                                                                                                    Chicago, IL 60606-2833 U.S.A.
                                                                                                                    (312)357-1313
                                                                                                                    Fax (312) 759-5646

       Brian W. Lewis                                                                                               www.btlaw.com
       (312) 214-5608
       brian.lewis@btlaw.com




                                                                                                                            July 27, 2017

           Via c-mail, first-class and certified mail return receipt requested

           Timothy L. Stark
           Melisa D. Stai'k
           Wildlife in Need and Wildlife in Deed, Inc.
           3320 JaclcTeeple Road
           Charlestowii, IN 47111
           wildlifeinneed@aol.com

           The Honorable Ryan Zinke
           Secretary of the Interior
           U.S. Department of the Interior
           1849 C St. N.W.
           Washington,DC 20240
           secretary_2inlce@ios.doi.gov

           Jim Kurth
           Acting Director, U.S. Fish & Wildlife Service
           1849 C St. N.W.,Rm. 3331
           Washington, DC 20240                   .
           jim_kurth@fws.gov

           Re;          Notice of Intent to File Citizen Suit Pursuant to the Endangered Species Act Again.st
                        Wildlife in Need and Wildlife In Deed,Inc. and Tim and Melisa Stark

           This letter constitutes notice, pursuant to Section 11 of the Endangered Species Act("ESA"), 16
           U.S.C. § 1540(g)(2)(A)(i), that People for the Ethical Treatment of Animals, Inc.("PETA")
           intends to file suit after sixty days against Wildlife in Need and Wildlife in Deed,Inc., an Indiana
           corporation located at 3320 Jack Teeple Road, Charlestown, Indiana, 47111, Timothy L. Stark as
           an individual and in his capacity as the president and principal of Wildlife in Need and Wildlife
           in Deed,Inc., and Melisa D. Stark as an individual and in her capacity as the secretary and
           treasurer of Wildlife in Need and Wildlife in Deed, Inc., and the persons primarily responsible
           for caring,for the animals described herein (collectively,''Wildlife in Need"), in federal district
           coirrt pursuant to 16 U.S.C. § 1540(g)(1)(A)for chronic and ongoing violations of the ESA, 16
           U.S.C. § 1538(a)(1)(B),(G), and its implementing regulation, 50 C.F.R. § 17.21, to enjoin the
           facility's ongoing "take" of tigers, lions, and hybrids thereof(collectively,"Big Cats").




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     Should Wildlife in Need elect to remedy the ESA violations described below and avoid
    litigation, it should immediately contact the undersigned attorney to effectuate the transfer of
    these protected Big Cats to reputable sanctuaries within the sixty-day notice period. PETA will
     secure, arrange, and pay for the placement, transport, and veterinary care necessary for the
     relocation of these animals to reputable sanctuaries, where they can express species-typical
     behaviors in safe, socially appropriate, and enriching environments, in exchange for an
     agreement that Wildlife in Need shall not own, possess, buy, sellj transfer, transport, or in any .
     v/ay handle or have contact with Big Cats in perpetuity.

     I.     The Endangered Species Act

     The ESA prohibits the "take" of endangered and most threatened species within the United
     States.' Tigers ai-e listed as "endangered" under the ESA.^ Lions are listed as either "endangered"
    01- "threatened" depending upon their subspecies—the subspecies Pcmthera ko ko is listed as
    "endangered" and the subspecies Panthera ko melanochaita is listed as "threatened"—^both to
    which the "take" prohibition applies.^
     Congress defined "take""in the "broadest possible" manner to include every conceivable way in
     which a person can take or attempt to take any fish or wildlife.' "1 ake is defined by statute to
     mean "to harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to
     engage in any such conduct."^
     "Harm".and "harass" are defined by regulation,"Harm" is "an act which actually kills or injures
     wildlife" including "by significantly impairing essential behavioral patterns, including breeding,
     feeding or sheltering."^ "Hai'ass" is "an intentional or negligent act or omission which creates the
     likelihood of injury to wildlife by annoying it to such an extent as to significantly disrupt normal
     behavioral patterns which include, but are not limited to, breeding, feeding, or sheltering.
    '^Vound" is not defined by statute or regulation. Its dictionary definition, as a verb, is "to cause a
    wound to or in," or "to inflict a wound"; as a noun, wound is defined as "an injury to the body



    'See 16 U.S.C. § 1538(a)(1)(B),(G); 50 C.F.R. §§ 17.21.
    ^50 C.F.R. § 17.11(h).
     ^ /c/. § 17.11(h); see also id. § 17.40(r)(members of the threatened subspecies Panthera ko
     melanochaita are subject to the protections.of a special rule that incorporates the take
     prohibition).
       Babbitt v. Sweet Home Chapter ojCmtys.for a Great Or., 515 U.S. 687,704—05(1995)(citing
     S. Rep. No. 93-307, p. 7(1973); U.S. Code Cong. & Admin. News 1973, pp. 2989,2995);see
     also H.R. Rep. No. 93-412, p. 154, 150(1973)("the broade.st possible terms" were used to
     define restrictions on takings and to include "harassment, whether intentional or not").
     M6 U.S.C. § 1532(19). .
     ^50C.F.R. § 17.3.
    'M ■


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    (as from violence, accident, or surgery)that typically involves laceration or breaking of a
    membrane (such as the skin) and usually damage to underlying tissues."

    The United States Fish and Wildlife Service has denied Wildlife in Need's captive-bred .wildlife
    permit application and Wildlife in Need does not possess any permit to "take" Big Cats. Yet, as
    described below, Wildlife in Need confines and maintains Big Cats in conditions that"harm,"
    "harass," and "wound" them in violation of Section 9 of the ESA'"^ and its implementing
    regulations,'® and thereby also unlawfully possesses them'' in further violation of the Act.
    II.       Wildlife in Need Takes Big Cats in Violation of the ESA

     Wildlife in Need takes protected Big Cats by prematurely removing them from their mothers or
     acquiring them from others who have done so, declawing them,forcing them to engage in
     encounters with the public, exposing them to rough handling, and confining them in conditions
    that fail to meet their social, physical, and psychological needs, all of which results in or creates
     a likelihood of injury to the animals.'^
              A.     Declawing

     Wildlife in Need routinely declaws at least some of the Big Cats it possesses, which harms,
     wounds, and harasses the animals within the meaning of the ESA. Wildlife in Need lacerates the
     skin and tissue ofsome of these animals in an illegal and indefensible pi'ocedure that causes them
    severe injury and interferes with their normal behavior in a way that is likely to result in long-
     term, chronic injury.

     To declaw a Big Cat, the animal's toes are amputated at the lastjoint, a procedure that,will result
     in perihanent lameness, gait abnormalities, abnormal standing conformation, arthritis,-or other- - -
     long-term complications, and cause pain in standing or walking. Complications from declawing
     may even cause death, as adrnitted by Wildlife in Need's attending veterinarian, who stated
     during a recent U.S, Depaitrneiit of Agriculture(USDA)inspection that a tiger at the facility has
     a fifty percent chance of dying from complications resulting from the procedure.




     ® "Wound." Merriam-Webster.com. https://www.merriam-webster.com/dictionary/wound (June
     1.2017).
     ^16.U.S.C. § 1538(a)(1)(B),(G).
     '® 50 C.F.R. §§ 17.21(c)(1); 17;40(r).
     '■'50C.F.R.§ 17.21(d)(1).
       This conduct is well documented, including tlirough reports written by inspectors witli the^
     Animal Plant and Health Inspection Service, the division of the United States Department ot
     Agriculture ("USDA") that administers the Animal Welfare Act ("AWA"), 7 U.S.C. §§ 2131-59.
          USDA Inspection Report, Timothy Stark (March 17,2017).

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     Declawing Big Cats is illegal because it "can cause ongoing pain, discomfort, or other
     pathological conditions in the animals."''* The American Veterinary Medical Association
    "condemns" the declawing of Big Cats because the "pain and suffering associated with
     declawing may be exacerbated in wild and exotic felines" and "welfare concerns associated with
     declawing are'worsened for [Big Cat] populations."'^ With limited exception, there is "no^
    justification for peribrming the procedure in this population of cats."'^' Despite this, Wildlife in
     Need has routinely declawed protected Big Cats, causing them wounds and injuries and putting
     them at risk of death, chronic pain, discomfort, and other physical and psychological health
     problems..

              B.    Rough Handling,Public Contact, and Maternal Separation
    For captive animals such as Big Cats,"forced proximity to or contact with humans can be
    deleterious to animal well-being."" Yet Wildlife in Need routinely exhibits Big Cat cubs at its
    "Tiger Baby Playtime" events, charging an admission fee and an optional additional photo
     opportunity fee, and bringing Big Cat cubs into direct contact with the public in a room full of
     approximately thirty members of the public. Using Big Cat cubs in public-handling sessions
     constitutes a "take" and contravenes generally accepted husbandry practices.' Such conduct
     harms and harasses the animals in violation of the ESA by physically abusing them and causing
     severe disruption to their normal behavior patterns, including feeding and sheltering, so as to
     create the likelihood of injury.
     Tim Stark or other Wildlife in Need staffers or volunteers hold cubs by the arms, shake their
     bodies or heads, bare teeth,and growl at them, and generally agitate them and cause them
     distress. Stark has gone so far as to instnict customers to hit the animals if they express distress
     or react negatively to public handling and to direct employees and volunteers to hit cubs with

     '■* USDA Animal Care Policy Manual, Policy #3, Veterinary Care (Mar. 14, 2014)
     httDs://wwvv-aphis.usda.gQv/animal welfare/downloads/Animal%20Care%20Policv%20Manual.
     pdf. For more than a decade the USDA has recognized that declawing violates the AWA because
     it "can cause considerable pain and discomfort to the animal and may result in chronic health
     problems." USDA,. Animal Care, Information Sheet on Declawing and Tooth Removal (Aug.
     2006), https://www.aphis.usda.gov/animal_welfare/downloads/big_cat/declaw_tooth.pdf. The
     ESA and AWA are sepai-ate statutory schemes that apply concurrently and in full to captive
     members of endangered species. They are distinct but complementary statutes, each with its own
     scope, puripose, and enforcement mechanism.
       AVMA Executive Board, A VMA now condemns declawing wild and exotic cats, Dec. 31,.
     2012, https://www.avma.org/news/javmanews/pages/13011 Sl.aspx.

     " Kathleen Morgan & Chris Tromborg, Sources of Stress in Captivity, 102 Applied Animal
     Behav. Sci. 262,280 (2007); see also Matt W. Hay ward & Gina J. Hay ward, The Impact of
     Tourists on Lion Panthera Leo Behaviour, Stress and Energetics, 54 Acta Theriologica 219
     (2009) (finding that lions were significantly more likely to exhibit disturbance-indicating
     behaviors and signs of stress when tourists were present).
       Global Federation of Animal Sanctuaries, Standards for Felid Sanctuaries, at § P-6.b (July
     2013).


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    riding crops. This conduct significantly disrupts the animals' normal behavioral patterns by
    making it impossible for them to hide or otherwise seek shelter from feai-inducing stimuli, and
    not only causes them psychological injury but is so distressing that it also places the animals at
    significant risk for physical injury.
    The young cubs used by Wildlife in Need are at a critical.learning juncture, and the trauma and
    permanent chronic distress caused by these "Playtime" events can activate genes that can be
    passed in turn to offsprings potentially affecting Big Cats and their young for the rest oftheir
    lives. These species are incapable of understanding the negative punishment of being hit by
    human hands or struck by riding crops, and cannot know what behavior is expected of them by
     their human handlers."

     Additionally, the constant use ofthese cubs in "Playtime" events without periods of sufficient
     rest in between hourly exhibitions exhausts tbe animals, who often appear lethargic and attempt
     to sleep even as members of the public surround thern and handle them. 1 his creates a likelihood
     of injury by denying sleep and rest, which is essential to natural development and physical
     health, thereby harassing and annoying the animals in violation of the ESA. Wildlife in Need
     also allows public contact with Big Cats who have open wounds, creating a risk of injury by
     allowing bacterial transmission from roomfuls of people who handle the animals, thereby further
     harassing them in violation of the ESA.
     These events continue, with new cubs being born or arriving at Wildlife in Need to replace older
     cubs as they age and grow larger. The cubs are separated from their mothers as infants, well
     before they are naturally weaned, causing distress to the cubs and their mothers, and other
     physical and psychological health problems. Maternal separation alters the cubs' nonnal feeding
     behaviors.and other natural behaviors that,.had they been allowed to remain with their mothers,
     the cubs would have learned from their mothers.


            C.      Conditions of Confinement and Abnormal Behaviors

     Wildlife in Need confines adult and juvenile Big Cats to small, virtually barren enclosures that
     lack proper enrichment and other opportunities engage in species-typical behaviors. In doing so.
     Wildlife in Need physically and psychologically harms these animals, and deprives them of the
     ability to engage in normal behavioral patterns, creating the likelihood that the Big Cats will
     suffer further injury, thereby taking them in violation of the ESA.

     In captivity, tigers are commonly unable to roam the vast and varied territories tliey evolved to
     occupy. Since captive conditions that thwart carnivores' hunting prospects appear to- cause
     carnivores like tigers to suffer stress,^® reputable facilities develop enrichment plans designed to
     allow the animals to express natural feeding and hunting behaviors.^' These plans aim to provide
       See, e.g., USDA Inspection Report, Timothy Stark (Aug. 20,2014); see also USDA Inspection
     Report, Timothy Stark (Sept. 15, 2015).
       Morgan & TrOmborg,jfz/pra n.17, at 284.
        Leticia S. Resende et al.. The Influence ofFeeding Enrichment on the Behavior ofSmall Felids
     (Carnivora: Felidae) in Captivily, 26 Zoologia 601 (2009).

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     stimulating physical and mental activities by introducing a variety of environmental enrichment
     items such as bones or deceased whole prey items for feeding, pools for swimming, toys that are
     kept novel by changing them regularly, scratch logs, different substrates to investigate and lie in,
     the introduction of new.smells, enclosure rotations, and adequate space to run. According to the
     Association ofZoos and Aquariums("AZA"),the nation's premier zoological accrediting
     organization, the typical tiger exhibit is between 2,500 and 10,000 square feet, with an average
     of 5,500 square feet.^^
     Meeting the physical and psychological needs of captive lions requires providing them with the
     opportunity to socialize with compatible lions, and providing them with necessary environmental
     enrichment. The AZA recommends that lions be provided with "large spacious enclosures
     designed to encourage species-appropriate behaviors such as resting, walking, hunting, stalking,
     grooming, playing, breeding, etc."^"' All enclosui*es should allow lions to "retreat from
     conspecifics through the use of visual barriers, such as rock outcroppings, hills, and foliage,
     without limiting ajn animal's access to food, water, heat, or shade." In addition to providing
     social privacy, enclosures should include "various substrates, surfaces to mark, deadfall for
     scratching, and other aspects in their enclosure that will change their pathways and create
     complex behavioral opportunities."^'^ According to the AZA's 2010 Lion Species Survival Plan
     Space Survey,the majority of lion exhibits are over 10,000 square feet, which "should be
     considered the minimum size for new exhibits."^^

     Wildlife in Need does not provide its Big Cats with appropriate, natural, and complex enclosui*es
     and varied enrichment, Instead, Wildlife in Need confines them to small, virtually barren
     enclosures, with inappropriate substrates and little to no variety, privacy, or choice. The barren
     environment and lack of enrichment at V/ildlife in Need harasses the Big Cats by significantly
     disrupting their ability to engage in important natural behaviors such as swimming, stalking, and
     predation. Likewise, this deprivation causes ongoing harm to the animals' physical and
     psychological well-being.^"^ Indeed, Big Cats in sterile environments like the one at Wildlife in
     Need experience long periods of inactivity or mindless activity, which results in permanent
     long-term changes to the body, brain, neural, and endocrine systems. Psychological distress can
     often,leave tigers with higher blood cortisol.levels, which can trigger displacement behavior,
     apathy, learned helplessness, and even severe capture myopathy. Enrichment is necessary to
     deter harmful behaviors like self-mutilation, and stereotypical behaviors^^ such as pacing, which
     has been observed in Big Cats at Wildlife in Need. Harmful behaviors such as self-mutilation

       Ass'n ofZoos & Aquariums, Tiger Core Manual 12(2012).
       Ass'n ofZoos & Aquariums, Lion Core. Manual 18 (2012).
       Id.
       Id.
     "^Id.
       See Morgan & Tromborg,',yw/prn n.17, at 264;see also Monika S. Szokalski et al.. Enrichment
     for             (Pantheratigris;: Current Knowledge and Future Directions, 139 Applied
     Animal Behav. Sci. 1 (2012).
        Stereotypies, which are commonly recognized as a sign of psychological distresSj ai'e
     identified by the lack offunction for the behavior.


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    and pacing, in addition to evidencing psychological distress, can lead to other physical injuries,
    especially when the animals pace on inappropriate substrates. In the wild or in a reputable
    sanctuary, a Big Cat would.have the ability to exercise, explore, and engage in other species-
    typical behaviors.

    By confining Big Cats in enclosures that do not allow the animals to exercise choice, experience
    autonomy, or express natural behaviors, and by denying the animals the psychological ^
    stimulation fundamental to their physical, social, and psychological well-being, Wildlife in Need
    fails to satisfy generally accepted standards ofcare and causes the animals physical and
     psychological injuries by significantly disrupting the animals' normal behavioral patterns and
     thereby takes the Big Cats by banning and harassing them in violation ofthe ESA.
     Additionally, the USDA has cited Wildlife in Need for failing to provide these species with
     appropriate shelter for cold winter weather.^® According to a USDA facility inspection report,
    "The lack of wind breaks, or shelters that protect the animals from the rain, sleet, direct sun, and
     snow can cause possible health issues and discomlort to the ... animals, that in nature would be
     able to find appropriate shelter from the elements if able."^' The inspector noted that snow and
     rain was blowing into the enclosure and that the temperature had been between seven and
     twenty-one degrees Fahrenheit for the week prior to the in.spection, with two to three inches of
     snovy on the ground during the inspection.^^
     Failure to provide Big Cats with adequate protection from the elements creates a likelihood of
     injury, including hypothermia and illness., by denying them the ability to engage in normal
     behaviors such as hiding, resting, and sheltering without exposure to inclement weather, or
     choosing to find a more suitable location, thereby harassing them in violation ofthe ESA.




     The conditions set forth herein violate the ESA's prohibition on the "take'of the Big Cats.
     Unless the violations described herein cease immediately, PETA intends to file suit against .
     Wildlife'in Need,under the ESA after the expiration of sixty days. Pursuant to the ESA,PETA
     will seek declaratory relief and an injunction against continued violations, including, but not
     limited to^ requesting that the court order the transfer of the Big Gats to reputable sanctuaries, as
     well as attorney's fees and litigation.costs.

     In the interim, PETA demands that Wildlife in Need and Mr. and Mrs. Stark agree to enter a
     preservation order in this matter containing the following terms:(i) Wildlife in Need and Mr. and
     ^^See 16 U.S.C. § 1.5.38(a)(1)(B),(G); 50 C.F.R. § 17.11(h), 17.21(c)(1).
       See USDA Inspection Report, Timothy Stark (Jan. 20, 2016).
       Id.
       Id



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     Mrs. Stark agree to preserve and not destroy any and all animals in their possession;(ii) Wildlife
    in Need and Mr. and Mrs. Stark agree to preserve and not destroy any and all evidence,
    documents, tangible items and electronic data that are the subject of or relevant to the violations
     addressed in this letter; and (iii) Wildlife in Need and Mr. and Mrs. Stark agree to permit an on-
     site inspection of the property, within thirty days, to confirm that all ofthe Big Cats at Wildlife
    in Need are being preserved. Please confirm by 5 p.m.(ET)on August 3,2017, that Wildlife
     in Need and Mr. and Mrs. Stark agree to enter into a preservation order as described
     herein. If T do not hear from you by then,PETA will have no alternative but to seek
     appropriate legal relief with the court.

     During the sixty-day notice period, PETA is willing to discusS a mutually agreeable remedy for
     the violations addressed in this letter. Specifically, PETA is willing to bear all costs associated
     with relocating the Big Cats to reputable sanctuaides, in exchange for an agreement that Wildlife
     in Need shall not own, possess, buy,sell, transfer, transport, or in any way handle or have
     contact with Big Cats in perpetuity. If Wildlife in Need wishes to pursue this remedy and avoid
     litigation,, please contact me directly. You can reach me by phone at(312)214-5608 or by e-mail
     at bi-ian.lewis@btlaw.com in order to facilitate placement and to confirm your agreement with
     tlie preservation order.


                                                    Very truly yours,




                                                    Brian W.Lewis
     BWL/kl




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